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 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10    VAST VANTAGES, LLC, a California Case No. 2:21-cv-04896-MCS-MRW
11    limited liability company,
                                       JUDGMENT
12                        Plaintiff,
13
                     v.
14
15    BISHAL BHANDARI, an individual,
16
                          Defendant.
17
18         Pursuant to the Court’s Order Re: Motion to Dismiss for Lack of Personal
19   Jurisdiction, IT IS ORDERED, ADJUDGED, AND DECREED that Plaintiff Vast
20   Vantages, LLC’s Complaint against Defendant Bishal Bhandari is dismissed without
21   leave to amend. The case is dismissed without prejudice for lack of personal
22   jurisdiction.
23
24   IT IS SO ORDERED.
25
26    Dated: November 15, 2021
27                                              MARK C. SCARSI
                                                UNITED STATES DISTRICT JUDGE
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